Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16

Patricia Szumowski

Page 1 of 10

From:
Sent:
To:
Subject:

Patricia Szumowski <pas@szumowskilaw.com>
Wednesday, November 09, 2016 1:18 PM
matt@bostonlawgroup.com

J8&) Alex Matov Oasis

Matt, Further to our conversation this afternoon, please provide the certificate of inspection for 2013 for the Oasis
Nightclub showing the capacity, and the agreement for use of the establishment by another on 9/14/13 that you

mentioned.

Patricia A. Szumowski
SZUMOWSKI LAW, PC

Office & Overnight Delivery:
417 West Street, Ste. 104
Amherst, MA 01002

Mailing Address:
PO Box 2537

Amherst, MA 01004

Telephone (413) 835-0956
Facsimile (866) 242-2902
pas@szumowskilaw.com

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Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 2 of 10

Patricia Szumowski
EE

Saris
From: Patricia Szumowski <pas@szumowskilaw.com>
Sent: Thursday, November 17, 2016 5:10 PM
To: matt@bostonlawgrcup.com
Subject: RE: J8u. Alex Matov Oasis

Much appreciate a response.

Patricia A. Szumowski
SZUMOWSKI LAW, PC

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From: Patricia Stumowski [mailto:pas@szumowskilaw.com]
Sent: Wednesday, November 09, 2016 1:18 PM

To: matt@bostonlawgroup.com

Subject: J&J Alex Matov Oasis

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pasi@szumowskiiaw.com

1 Exes pir or

Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 3 of 10

Patricia Szumowski

From:
Sent:
To:

Cc:
Subject:

SS RS aT A a I SESE SST a OEE a

Matthew Shayefar <matt@bostonlawgroup.com>
Thursday, November 17, 2016 5:12 PM

Patricia Szumowski

Evan Fray-Witzer; Val Gurvits

RE: J8&u) Alex Matov Oasis

Hi Pat, seeing if we can locate any documentation. Will send you as soon as | get it. Best,

-Matt Shayefar

Sent from my mobile device. Please excuse brevity.

From: Patricia Stumowski <pas@szumowskilaw.com>

Sent: Thursday, November 17, 2016 2:10:18 PM

To: Matthew Shayefar

Subject: RE: J&J Alex Matov Oasis

Much appreciate a response.

Patricia A. Szumowski
SZUMOWSKI LAW, PC

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the sender by forwarding this e-mail to pas@szumowskilaw.com , or by telephone (413) 835-0956, and then delete the message and its
attachments from your computer. Thank you.

From: Patricia Stumowski [mailto:pas@szumowskilaw.com]
Sent: Wednesday, November 09, 2016 1:18 PM
To: matt@bostonlawgroup.com

Subject: J&J Alex Matov Oasis

Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 4 of 10

Matt, Further to our conversation this afternoon, please provide the certificate of inspection for 2013 for the Oasis
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mentioned.

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Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 5 of 10

Patricia Szumowski

RES SESE ST REE SD PY
From: Matthew Shayefar <matt@bostonlawgroup.com>

Sent: Monday, November 21, 2016 12:39 PM

To: Patricia Szumowski

Cc: Evan Fray-Witzer

Subject: RE: JJ Alex Matov Oasis

Hi Pat, as we've been looking into getting you the information you requested it has become clear that you have
filed suit against the wrong oasis club in Lawrence. There were actually two. | and my associate Evan Fray-
Witzer would like to get on a call with you this afternoon to explain. Please let us know when you're available.
Thanks,

-Matt Shayefar

Sent from my mobile device. Please excuse brevity.

From: Patricia Stumowski <pas@szumowskilaw.com>
Sent: Thursday, November 17, 2016 2:10:18 PM

To: Matthew Shayefar

Subject: RE: J&J Alex Matov Oasis

Much appreciate a response.

Patricia A. Szumowski
SZUMOWSKI LAW, PC

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Amherst, MA 01002

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From: Patricia Stumowski [mailto:pas@szumowskilaw.com]
Sent: Wednesday, November 09, 2016 1:18 PM

1 EXHIB iV T-

Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 6 of 10

To: matt@bostonlawgroup.com
Subject: J&J Alex Matov Oasis

Matt, Further to our conversation this afternoon, please provide the certificate of inspection for 2013 for the Oasis
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Corporations Division

Business Entity
Name: MOTTA’S LAWRENCE COUNTRY CLUB, INC.

Order Name of filing Year | Date filed | Filing No. View PDF
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all
Dissolution by Court 06/18/2012 201292556750 Index Number = 0 (0
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| Note:

| Annual Reports and No Fee changes have a retention period of
| ten years; therefore these documents are no longer available
| prior to December 31, 2002.

EXHIBIT K

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Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 8 of 10

_MASOC_ Filing Number: 200945621500 Date: 01/14/2009 12:43 PM |

The Commonwealth of Massachusetts Minimium Fee: $100.00
William Francis Galvin

Secretary of the Commonwealth
One Ashburton Place, Boston, Massachusetts 02108-1512
Telephone: (617) 727-9640

Federal Employer Identification Number: 000718901 (must be 9 digits)

|| 1, Exact name of the corporation: MOTTA'S LAWRENCE COUNTRY CLUB, INC.

| 2. Jurisdiction of Incorporation: State: MA Country:

3,4. Street address of the corporation registered office in the commonwealth and the name of the registered
agent at that office:

Name:
No. and Street:
_ City or Town: State: Zip: Country:
5. Street address of the corporation's principal office:
_ No. and Street: 109 SALEM STREET
City or Town: METHUEN State: MA Zip: 01844 Country: USA

:
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fd

i

6. Provide the name and addresses of the corporation's board of directors and its president, treasurer,
secretary, and if different, its chief executive officer and chief financial officer.

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5 i Sool
Title i Individual Name Address (no PO Box)
First, Middle, Last, Suffix Address, City or Town, State, Zip Code |
PRESIDENT ROSARIO MOTTA 409 SALEM STREET
i METHUEN, MA 01844 USA
TREASURER ROSARIO MOTTA 109 SALEM STREET i
METHUEN, MA 01844 USA
SECRETARY ROSARIO MOTTA 109 SALEM STREET
METHUEN, MA 01844 USA
DIRECTOR ROSARIO MOTTA 109 SALEM STREET
i METHUEN, MA 01844 USA

7. Briefly describe the business of the corporation:

| RESTAURANT & NIGHT CLUB

8. Capital stock of each class and series:

a | | Par Value Per Share Total Authorized by Articles | Total Issued |
H] | Enter 0 if no Par of Organization or Amendments and Outstanding [|
i| | Class of Stock | Num of Shares Total Par Value | Num of Shares
it | CNP | $0.00000 20,000 | $0.00 20,000 |
i

Case 1:16-cv-11864-DPW Document 18-2 Filed 12/14/16 Page 9 of 10

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10. Report is filed for fiscal year ending: 12/31/2008

Signed by ROSARIO MOTTA , its PRESIDENT
on this 14 Day of January, 2009

eR Nh

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LICENSE
ALCOHOLIC BEVERAGES

THE LICENSING BOARD OF

The ..... GREY... 0f .........-.0-:.UAWRENCE

TePC CC RCeTe Teese EUS STORES seb eee

“MASSACHUSETTS
HEREBY GRANTS A

‘147 - 155 JACKSON STREET LAWRENCE 01841

on the following described premises :
ONE STORY STRUCTURE; FRONT & REAR EXITS; CELLAR FOR

Beet ee me temees ser ba tener sen en erate see Reese ere e see SERRE hee Sudeeeteeeae

ents 2 RESTROOMS; KITCHEN; BAR; DINING AREA |

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This license is granted and accepted upon the express condition that the
licensee shall, in all respects, conform to all the provisions of the Liquor Control
Act, Chapter 138 of the General Laws, as amended, and any rules or regulations
made thereunder by the licensing authorities. This license expires December 31st,

2013 Unless earlier SEE, cancelled or revoked.

IN TESTIMONY WHEREOF, ike undersigned have hereunto affixed their

Official signatures this ....:.........22th..... Y Of... Movember... 2012

The Hours during which Alcoholic
Beverages may be sold are —

From 8AM.io.1AM .weekdays..........
ie noon. to AM... Cae iap ate

LICENSING BOARD:

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THIS LICENSE SHALL BE DISPLAYED ON THE PRENISES IN A. conspicuous POSITION WHERE Ire CAN EASILY BE nF READ

